Case 7:14-cr-00048-HL-TQL Document 1 Filed 12/10/14 Page 1 of 15
Case 7:14-cr-00048-HL-TQL Document 1 Filed 12/10/14 Page 2 of 15
Case 7:14-cr-00048-HL-TQL Document 1 Filed 12/10/14 Page 3 of 15
Case 7:14-cr-00048-HL-TQL Document 1 Filed 12/10/14 Page 4 of 15
Case 7:14-cr-00048-HL-TQL Document 1 Filed 12/10/14 Page 5 of 15
Case 7:14-cr-00048-HL-TQL Document 1 Filed 12/10/14 Page 6 of 15
Case 7:14-cr-00048-HL-TQL Document 1 Filed 12/10/14 Page 7 of 15
Case 7:14-cr-00048-HL-TQL Document 1 Filed 12/10/14 Page 8 of 15
Case 7:14-cr-00048-HL-TQL Document 1 Filed 12/10/14 Page 9 of 15
Case 7:14-cr-00048-HL-TQL Document 1 Filed 12/10/14 Page 10 of 15
Case 7:14-cr-00048-HL-TQL Document 1 Filed 12/10/14 Page 11 of 15
Case 7:14-cr-00048-HL-TQL Document 1 Filed 12/10/14 Page 12 of 15
Case 7:14-cr-00048-HL-TQL Document 1 Filed 12/10/14 Page 13 of 15
Case 7:14-cr-00048-HL-TQL Document 1 Filed 12/10/14 Page 14 of 15
Case 7:14-cr-00048-HL-TQL Document 1 Filed 12/10/14 Page 15 of 15
